Case 2: 05- -c\/- -02480- .]DT- STA Document 14 Filed 08/23/05 Page 1 of 4 Page|D 34

""'-Eo$),

IN THE uNlTED sTATEs DlsTRlcT CoURT 054£,@ ""\\D.C_
FoR THE WEsTERN DISTRICT oF TENNESSEE 3 P», ,r
EASTERN DrvlsloN ~ t °<" 7

ky F Ui." l U`z§j£{)
;'J£'/ G/
`}C ”" t;/T~FQ@CFU@J

 

DOROTHY A. STEELE, )
)
Plaintiff, )
)
)

VS. ) No. 05-2480-T/An
)
)
ESTATE OF THOMAS DlCKERSON, Il, )
As Employee/Agent of Greyhound Lines, )
lnc.; GREYHOUND LINES, INC.; )
ALEX YU CHANG, As Employee/Agent )
of Coastal Group Corporation; and )
TRANS USA CORPORATION, )
)
Det`endants. )

 

ORDER DENYING MOTION TO RESET TRIAL DATE AS UNNECESSARY

 

The parties in this case have filed a joint motion to reset the trial date. The parties
also tiled a joint motion to consolidate this case With several other related cases, for all
pretrial proceedings, and a joint motion to continue the scheduling conference currently set
t`or August 30, 2005.

'l`hejoint motion to reset the trial date is DENIED as unnecessary, as no official trial
date has been set in this case. The set of instructions regarding the scheduling conference,

Which is attached to the Notice of Setting, specifically states that the trial date contained

Thls document entered on the dockets l ll
wuhautesaana:or,rs (a)FncP on _E;;U q

Case 2:05-cv-02480-.]DT-STA Document 14 Filed 08/23/05 Page 2 of 4 Page|D 35

therein is "tentative only and may be changed by the scheduling order.” The case Will not
be placed on the Court’s trial calendar until a scheduling order is actually issued.

IT IS _SO ORDERED.

draw/at

JA ES D. TODD
TED STATES DISTR]CT JUDGE

Q»ZOM SMF

DATE 0

 

 

s DISTRICT oURT - W

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:05-CV-02480 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

ESSEE

 

Christopher W. CardWell

GULLETT SANFORD ROBINSON & MARTIN
315 Deadrick St.

Ste. 1 100

Nashville, TN 37219--888

.1 immy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

l\/lemphis7 TN 38103

Carl Wyatt

GLASSMAN EDWARDS WADE & WYATT, P.C.

26 N. Second Street
l\/lemphis7 TN 38103

Robert L Scull

The LaW Oflices of Peter A. Miller
1601 S. Broadway Street

Little Rock7 AR 72206

Mark N. Geller

NAHON SAHAROVICH & TROTZ, PLC
488 S. Mendenhall

l\/lemphis7 TN 38117

A. Scott Derrick

GULLETT SANFORD ROBINSON & MARTIN
315 Deadrick St.

Ste. 1 100

Nashville, TN 37219--888

EdWin E. Wallis

MOSS BENTON & WALLIS, PLLC
325 N. Parkway

P.O. Box 3897

Jacl<son7 TN 38303--389

Case 2:05-cv-02480-.]DT-STA Document 14 Filed 08/23/05 Page 4 of 4 Page|D 37

Honorable .1 ames Todd
US DISTRICT COURT

